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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

  Civil Action No. 10-cv-01031-MSK-BNB

  SHELLY GOMEZ,

                Plaintiff,

  v.

  PORTFOLIO RECOVERY ASSOCIATES, LLC, a Delaware limited liability company,

                Defendant.


                                   NOTICE OF SETTLEMENT


         COMES NOW the Plaintiff and the Defendant, by and through their counsel of

  record and for their Notice of Settlement, hereby state:

  1.     The Plaintiff and the Defendant have reached a settlement.

  2.     The parties will be filing a Stipulation of Dismissal with Prejudice with each party to

         pay its own attorney’s fees and costs once the settlement document has been

         executed by the parties and the settlement terms have been completed by the

         parties. The parties expect this to happen by July 23, 2010.

  Dated: July 15, 2010.

  Respectfully Submitted,


   s/ David M. Larson                                s/ Bruce R. Carvajal
  David M. Larson, Esq.                          Bruce R. Carvajal, Esq.
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                                                 Attorney(s) for the Defendant
